Case 9:18-cr-80109-RLR Document 31 Entered on FLSD Docket 08/06/2018 Page 1 of 2



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-80109-CR-ROSENBERG


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  JOHN O’GRADY,

              Defendant.
  ____________________________

                            WAIVER OF SPEEDY TRIAL

        Defendant, John O’Grady, through undersigned counsel, waives his right to a

  speedy trial, and agrees to excluding the speedy trial time period from July 27, 2018

  to January 7, 2019.


                                         Respectfully submitted,

                                         MICHAEL CARUSO
                                         Federal Public Defender

                                         s/ Peter Birch
                                         Peter Birch
                                         Assistant Federal Public Defender
                                         Attorney for the Defendant
                                         Florida Bar No. 304281
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                                           1
Case 9:18-cr-80109-RLR Document 31 Entered on FLSD Docket 08/06/2018 Page 2 of 2



                              CERTIFICATE OF SERVICE


        I HEREBY certify that on August 6, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                         s/ Peter Birch
                                         Peter Birch




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